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 1   KRISTIN MAYES
     ATTORNEY GENERAL
 2
     (Firm State Bar No. 14000)
 3   Jennine Burns (State Bar No. 031133)
     Kristin M. Wrobel (State Bar No. 031147)
 4   Office of the Arizona Attorney General
 5   2005 N. Central Avenue
     Phoenix, AZ 85004-1592
 6   (602) 542-3725
     ENVProtect@azag.gov
 7
     Kristin.Wrobel@azag.gov
 8   Attorneys for Amicus Curiae State of
 9   Arizona

10

11                              UNITED STATES DISTRICT COURT
12                                  DISTRICT OF ARIZONA
13

14     Hualapai Indian Tribe of the Hualapai    No. 24-CV-08154-PCT-DJH
       Indian Reservation, Arizona,
15

16                          Plaintiffs,         BRIEF OF AMICUS CURIAE
       v.                                       STATE OF ARIZONA IN
17                                              SUPPORT OF PLAINTIFF’S
       Debra Haaland, et al.,                   MOTION FOR TEMPORARY
18                                              RESTRAINING ORDER
19                                              FOLLOWED BY A
                            Defendants,         PRELIMINARY INJUNCTION
20
       and
21
                                                (Hon. Judge D. Humetewa)
22     Arizona Lithium, Ltd.,

23                          Intervenor
                            Defendants.
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 1                                STATEMENT OF INTEREST
 2          After reviewing the Bureau of Land Management’s (“Bureau”) Environmental
 3   Assessment (“EA”) for the Project and the filings before the Court to date, the State of
 4   Arizona is concerned that the Bureau did not fulfill its statutory duty under the National
 5   Environmental Policy Act (“NEPA”) to take a “hard look” at the Project’s impact on local
 6   water resources, including the sacred spring Ha’Kamwe’. The State thus submits this
 7   amicus in support of Plaintiff Hualapai Tribe’s (“Tribe”) request for injunctive relief. A
 8   preliminary injunction will prevent likely, irreparable harm caused by exploratory drilling
 9   while this Court hears the case on the merits.
10          The instant case reflects a central tension in Arizona life: how to safeguard the
11   state’s water resources while also promoting economic development and human
12   flourishing. Attentive use of Arizona’s water resources—and particularly its
13   groundwater—is a matter of existential concern for the State. More than 40% of Arizona’s
14   water supply comes from groundwater. 1 In many areas of the state, groundwater is the only
15   source of water available. The state’s groundwater reliance may increase in the coming
16   years as Arizona continues growing and as surface water allocations from the Colorado
17   River system decline due to new demand, twenty-plus years of drought, and climate
18   change-driven flow reductions. 2
19          Water is a matter of life and death. It is also a vital ingredient in every aspect of
20   economic life in Arizona—from home building, to semiconductor manufacturing, to
21   farming, to outdoor recreation in Arizona’s wonderful and wild places. Springs like
22   Ha’Kamwe’ exemplify how water can sustain physical and cultural life for generations
23   against an often harsh and unforgiving desert climate.
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        Mary Beth Faller, The Future of Water in Arizona (November 15, 2022),
     https://news.asu.edu/20221115-arizona-impact-future-water-arizona.
27   2
              Colorado       River       Shortage,     Arizona       Water    Blueprint,
     https://storymaps.arcgis.com/stories/a1a782ce054d4ad28a0d7d0845e6c03d (last visited,
28   Sept. 13, 2024).

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 1          At the same time, Arizona is at the beginning of a new mining boom. Companies
 2   have flocked to Arizona to develop mineral resources that will fundamentally transform
 3   the American and global economy and produce a new era of low-carbon prosperity. Many
 4   of these projects are on federal land or require federal approval.
 5          The Arizona Attorney General’s Office has heard from people all over Arizona that
 6   are excited about new economic opportunities, and about contributing to the next
 7   generation of American energy production. Many of those same people explain that they
 8   are worried that new mines will permanently transform their communities and could make
 9   it untenable for them to stay in their homes or to fully enjoy their land. The most common
10   concern is about water: will a mine dewater wells, or inadvertently pollute drinking water?
11   Indeed, Arizona is full of abandoned mines and mining towns, and many of our
12   groundwater basins have been permanently, negatively affected by careless or inattentive
13   mine operators of decades past.
14          Companies can and should responsibly develop new mines in Arizona. The
15   question, of course, is how to balance these exciting economic opportunities with
16   communities’ well-founded concerns about their access to water.
17          Unfortunately, the instant case is an example of an inattentive environmental review
18   process that did not adequately address how the Project will impact local water resources,
19   including Ha’Kamwe’. Rather than take a “hard look” at the Project’s potential impacts on
20   water resources, the Bureau relied on outdated data collected for a different purpose to
21   characterize the Project area’s complex hydrogeology, and, contrary to available scientific
22   evidence, inappropriately minimized the impact of the Project on Ha’kamwe and the near-
23   surface aquifer that feeds the spring.
24                                            ARGUMENT
25   I.     NEPA requires the Bureau to take a “hard look” at the Project’s impact on
            water resources, but the Bureau did not do so.
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27          The Court is undoubtedly familiar with NEPA, its requirements for federal agency

28   review of proposed actions, and the standard by which courts review whether a federal


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 1   agency complied with NEPA’s dictates. This brief focuses solely on the Bureau’s non-
 2   compliance with NEPA’s “hard look” requirement.
 3          NEPA requires federal agencies to take a “hard look” at a proposal’s potential
 4   environmental consequences. Klamath-Siskiyou Wildlands Ctr. v. Bureau of Land Mgmt.,
 5   387 F.3d 989, 993 (9th Cir. 2004). A “hard look” includes “considering all foreseeable
 6   direct and indirect impacts.” Idaho Sporting Congress, Inc. v. Rittenhouse, 305 F.3d 957,
 7   973 (9th Cir. 2002). Agencies that improperly rely on stale data for their environmental
 8   reviews do not satisfy NEPA’s “hard look” requirement. N. Plains Res. Council, Inc. v.
 9   Surface Transp. Bd., 668 F.3d 1067, 1086 (9th Cir. 2011). An agency’s “hard look” should
10   discuss adverse impacts without improperly minimizing negative side effects. Native
11   Ecosystems Council v. U.S. Forest Service, 428 F.3d 1233, 1241 (9th Cir. 2005).
12          The Bureau here failed to meet this requirements, instead relying on outdated,
13   inapplicable data when characterizing local hydrogeologic conditions and improperly
14   minimizing the Project’s potential harm to local water resources.
15          A.     The Bureau improperly relied on stale data about the Project’s impact
16                 on local water resources.

17          Only the Tribe produced an up-to-date study analyzing the hydrological conditions
18   of Ha’Kamwe’ and its immediate vicinity. (Doc. 11, Delehanty Decl., Att. 6.) Ha’Kamwe’s
19   source waters likely include a near-surface aquifer and a deeper aquifer connected to the
20   shallow aquifer by vertical faults. (Doc. 11, Delehanty Decl., Att. 6 Memo at 1.) Isotopic
21   studies of Ha’Kamwe’s waters indicate that the spring is fed by newer water from shallow,
22   near-surface sources and by older water from deeper sources. (Doc. 11, Delehanty Decl.,
23   Att. 6 Assessment at i.) The shallow aquifer has a recharge area that extends ten miles east
24   from the immediate vicinity of the spring. (Id. at 17.)
25          By contrast, the Bureau’s conclusions are based on a 2000 study that was not
26   designed to identify the sources of Ha’Kamwe’s waters. (EA at 20.) The 2000 study
27   incorrectly asserts that the Big Sandy basin’s aquifers are neatly separated. (Id.) Instead,
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 1   most scholarly assessments of the basin—including ones cited by the Bureau’s 2000
 2   study—characterize the basin as one large aquifer divided by clay layers but connected by
 3   vertical faults. (Doc. 11, Delehanty Decl., Att. 6 Memo at 2.)
 4          The Bureau said that it is “unclear” if Ha’Kamwe’ is fed by the shallower aquifer
 5   and declined to investigate further, instead opting to rely on outdated, largely inapplicable
 6   data to conclude that the spring is only fed by a deeper aquifer. (EA at 21.) Indeed, the EA
 7   is silent on the conclusions of the Tribe’s 2023 study. Where a newer, more specific study
 8   has undermined the central logic of the Bureau’s older, less applicable analysis, the
 9   Bureau’s reliance on stale data concerning local hydrogeologic conditions does not satisfy
10   NEPA’s “hard look” requirement. At the very least, the EA should have addressed the
11   conclusions of the 2023 study, even if it did not ultimately agree with them.
12          B.     The Bureau improperly minimized the Project’s negative effects on local
13                 water resources.

14          The Bureau failed NEPA’s “hard look” requirement by improperly minimizing the
15   potential effects of the Project on local water resources despite specific evidence to the
16   contrary. The Tribe’s study concludes that drilling 131 boreholes 360 feet below the
17   surface in the immediate vicinity of Ha’Kamwe’ “will cause irreversible negative effects
18   to the spring and its environs.” (Doc. 11, Delehanty Decl., Att. 6 Assessment at 18.) The
19   borehole field is likely to harm the spring by disrupting the shallow aquifer’s temperature,
20   chemistry, and rechargeability. (Id. at i.) Boreholes could also strike underground faults,
21   permanently changing local water travel patterns, prompting artesian water flow out of the
22   borehole, and even dewatering Ha’Kamwe’. (Id.) Well logs and field investigations suggest
23   the water table in the immediate vicinity of Ha’Kamwe’ is about 70 feet below the surface
24   level, meaning boreholes could very well perforate the local, shallow aquifer. (Id. at 18.)
25          The Bureau handwaves at these concerns, noting that the first two exploratory
26   drilling programs did not strike water, and that boreholes that hit water will be plugged
27   according to Arizona Department of Water Resources regulations. (EA at 22.) As the
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 1   Court’s motion granting the Temporary Restraining Order correctly notes, however, the
 2   proposed third round of exploratory drilling is substantially larger in scope than the first
 3   two rounds; previously dry boreholes are no guarantee of future ones. (Doc. 32, TRO at 6.)
 4          The EA is also silent on drilling contractors’ ability to quickly plug boreholes that
 5   strike water. At best, capping the borehole will prevent further injury, but it cannot reverse
 6   any injury to the aquifer’s water chemistry, temperature, pressure, or subsurface flow
 7   pathways. The Tribe’s study concludes that the Intervenor Defendant’s previous failures
 8   to properly cap and abandon boreholes during its first and second exploratory drilling
 9   programs has already affected the shallow aquifer. (Doc. 11, Delehanty Decl., Att. 6
10   Assessment at i.)
11          The Bureau’s decision to minimize the Project’s impacts on local groundwater
12   resources—without addressing specific evidence to the contrary—does not satisfy NEPA’s
13   “hard look” requirement.
14   II.    A preliminary injunction is appropriate to prevent likely, irreparable damage
15          to Arizona’s water resources.

16          The State supports a preliminary injunction because the Tribe has established that
17   the Project will likely cause irreparable harm to Arizona’s water resources. The Intervenor
18   Defendant will likely complete exploratory drilling activities by the time this matter
19   reaches trial. At the very least, this important matter deserves a close look by the Court
20   before such irreversible steps are taken.
21          A party seeking a preliminary injunction must show that they are likely to succeed
22   on the merits, that they are likely to suffer irreparable harm in the absence of preliminary
23   relief, that the balance of equities tips in their favor, and that an injunction is in the public
24   interest. Shell Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281, 1289 (9th Cir. 2013).
25          The Tribe explained why they are likely to succeed on the merits in its Complaint
26   and Motion for Temporary Restraining Order Followed by a Preliminary Injunction. The
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 1   important cultural and water issues involved here also tip the balance of harms in favor of
 2   the Tribe.
 3          The State writes here to emphasize the importance of the “irreparable harm” and
 4   “public interest” factors, which are uniquely intertwined in this case because any harm to
 5   water resources is a matter of public interest in Arizona. All. for the Wild Rockies v.
 6   Cottrell, 632 F.3d 1127, 1138 (9th Cir. 2011). The possibility of irreparable injury need
 7   not be certain or inevitable—a preliminary injunction may be issued when irreparable
 8   injury is “likely.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (internal
 9   citations omitted). Environmental harm should be afforded particular deference under the
10   “irreparable harm” analysis, as it cannot ‘be adequately remedied by money damages and
11   is often permanent or at least of long duration, i.e., irreparable.’” All. For the Rockies, 632
12   F.3d at 1135.
13          The alleged injuries at issue here are likely. The cultural harm to the Tribe is already
14   occurring and is fully explored in the Tribe’s pleadings. Likewise, the Project’s harm to
15   water resources cannot be redressed by equitable remedies following trial. No injunction
16   can restore the shallow aquifer’s water chemistry, revitalize the aquifer’s rechargeability,
17   or un-puncture a subterranean fault. Only the Tribe produced evidence specific to the
18   Project area’s water resources; said evidence concludes that exploratory drilling near
19   Ha’Kamwe’ “will cause irreversible negative effects to the spring and its environs.” (Doc.
20   11, Delehanty Decl., Att. 6 Assessment at 18.) And if the Tribe is correct, issuance of a
21   preliminary injunction now is the only way to avoid irreparable and catastrophic harm.
22          The Court should grant a preliminary injunction to ensure this matter can receive
23   close attention from the Court before irrevocable action is taken. And ultimately, the Court
24   should conclude that the Bureau must do more to fully consider the Project’s impact on a
25   unique Arizona water resource—a spring with incalculable cultural value that has
26   supported life in Arizona for generations.
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 1                                        CONCLUSION
 2          The Bureau did not satisfy its obligations under NEPA to take a “hard look” at the
 3   Project’s impacts on water resources. The Bureau’s reliance on an outdated hydrogeology
 4   study and its inappropriate minimization of the Project’s impacts on water resources to
 5   buttress its conclusion that the Project will not have a significant environmental impact is
 6   inconsistent with the Ninth Circuit’s well-trod approach to evaluating federal agencies’
 7   performance of their NEPA obligations.
 8          The State supports the issuance of a preliminary injunction because the specific
 9   deficiencies of the Bureau’s NEPA analysis risk likely, irreparable harm to Ha’Kamwe’
10   and nearby water resources.
11

12          RESPECTFULLY SUBMITTED this 16th day of September 2024.
13

14                                             KRIS MAYES
                                               ATTORNEY GENERAL
15
                                               By: /s/ Jennine Burns
16
                                                   Jennine Burns
17                                                 Kristin K. Wrobel
                                                   Office of the Arizona Attorney General
18
                                                   2005 N. Central Avenue
19                                                 Phoenix, Arizona 85004
                                                   Telephone: (602) 542-3725
20                                                 ENVProtect@azag.gov
21                                                 Kristin.Wrobel@azag.gov

22                                                 Attorneys for Amicus Curiae State of
                                                   Arizona
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